                          UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

USA                                              §
      Plaintiff                                  §
                                                 §
vs.                                              § Case Number: SA:21-CR-00154(1)-FB
                                                 §
(1) Juan Enrique Kramer                          §
      Defendant



                    ORDER SETTING VIDEO MOTION HEARING

         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
02:30 PM, in SHARED Courtroom A, on the 2nd Floor of the United States Federal
Courthouse, 262 W. Nueva Street, San Antonio, TX on Wednesday, January 26, 2022.

             IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services,
United States Probation Office. Further, counsel for the defendant shall notify the defendant of
this setting. If the defendant is on bond, he/she shall be present.


                  IT IS SO ORDERED this 20th day of January, 2022.



                                                ______________________________
                                                ELIZABETH S. ("BETSY") CHESTNEY
                                                UNITED STATES MAGISTRATE JUDGE


DEFENDANT'S MOTION FOR BOND (DKT#109)
